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 2
                                    UNITED STATES DISTRICT COURT
 3                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 4

 5   UNITED STATES OF AMERICA,
 6                          Plaintiff,
                                                                   NO. CR05-116
 7          v.
                                                                   ORDER ON MOTION TO REVISE
 8   STORMMY V. PAUL, et al.,                                      CASE SCHEDULE
 9                          Defendant(s).
10

11          The Court, having received and reviewed the Stipulated Request for Order Extneding Motions
12   Filing Date, makes the following findings:
13
                    1.      The motion contains no specific (or insufficient) facts to establish good cause
14                          for a continuance and/or
                    2.      The motion provides no suitable explanation as to why the existing case
15                          schedule deadlines were not met
16          Therefore, IT IS HEREBY ORDERED that the request to revise the existing case schedule is
17   DENIED without prejudice to bring a renewed motion which cures the defects noted above and
18   outlines a plan for meeting the revised deadlines.
19
            The clerk is directed to send copies of this order to all counsel of record.
20
            Dated: November 3, 2005



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23                                                         Marsha J. Pechman
                                                           U.S. District Judge
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26   ORD ON MTN - 1
